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AO 442 (Rev. 11/11) Arrest Warrant

rn ———— =
UNITED STATES DISTRICT COURT
for the
District of Maryland

United States of America

v, }
) Case No, | DCOUN CRS \
Hoau-Yan Wang

) USDC- GREENBEL]

) '24 JUL 10 PH2:58
Defendant
ARREST WARRANT H D

To; Any authorized law enforcement officer

Rev'd by:

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary

fname of person to be urrested) = Hgau-Yan Wang

delay

@& Indictment SJ Superseding Indictment ©) Information CJ Superseding Information © Complaint
© Probation Violation Petition © Supervised Release Violation Petition J Violation Notice O Order : the Court
This offense is briefly described as follows:
Counts 1: Major Fraud Against the United States in violation of Title 18, United States Code, Sections 1031 and 2
Counts 2-3: Wire Fraud in violation of Title 18, United States Code, Sections 1343 and 2
Count 4: False Staternent in violation of Title 18, United States Code, Sections 1001(a)(2) and 2
6-27-24 ey
Date:
— officer's signature
City and state: Greenbelt, Maryland Honorable Ajmel A. Quereshi US Magistrate Judge
Printed name anid title
Return
This warrant was received on (dare) 62] 23/2 24 , and the person was arrested on (dare) 7 fi0 [20a 2k

at /eit: and state) _breenbe lt, MOD

A

YAW

Date: 7 liofzor

// Afresting officer's sisnarure

/ V owive Ne v¢\

Printed name and title

